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        EXHIBIT 2
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From:          Gallagher, Katie
To:            Maura Grossman
Cc:            Hinger, Cathy; Weaver, Kurt; Bruno, Victoria; Ames, Lela; Baker, Jeremy; Mervis, Michael T.; Vinti, Baldassare;
               Roche, Jennifer L.; Alladi, Om V.; Gordon, Amy B.
Subject:       Plaintiffs Proposed Priority Listing of Outstanding Motions to Complete Discovery
Date:          Monday, March 4, 2024 9:12:11 PM
Attachments:   image921447.png
               image874454.png
               image788136.png
               image607721.png
               Plaintiffs Proposed Priority Listing of Outstanding Motions to Complete Discovery.pdf



Dear Dr. Grossman,

As Ms. Hinger is currently traveling, I am writing to present Plaintiffs’
position on the order of priorities for outstanding motions, which are set
forth in the attached summary document prepared by Ms. Hinger. Ms.
Hinger provided this list to TMUS on Sunday March 3, 2024, and Mr.
Michael Mervis for TMUS and Ms. Hinger for Plaintiffs met and
conferred about it by phone. TMUS will provide its list of proposed
order of priorities separately. The following is a cover email for
Plaintiffs’ list prepared by Ms. Hinger:

The primary area of disagreement is whether TMUS’s Motion to Compel
Plaintiffs to Amend their Initial Disclosures concerning damages should
be addressed first as TMUS asserts, or deferred until after all other
deposition related motions are resolved and in connection with Plaintiffs’
spoliation motion, as Plaintiffs assert. Plaintiffs assert TMUS’s motion
should not be considered first for the following reasons, which Plaintiffs
discussed with TMUS:

   1. Plaintiffs have served 4 subpoenas on Inteliquent for depositions
      the week of March 11th to preserve their rights to complete
        discovery within the current deadline (Rule 30(b)(6), John Bullock,
        Tim Schneberger, Mary Hochheimer). Assuming Inteliquent will
        seek additional time to schedule these depositions after a ruling on
        Plaintiffs’ Motion to Compel against Inteliquent, these depositions
        are a primary impediment to Plaintiffs’ completion of fact discovery
        depositions. The sooner we can resolve the scope of these
        necessary depositions and schedule them, the sooner we can
        ascertain a firm close of discovery date.
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  2. As Plaintiffs have explained to TMUS, Plaintiffs require discovery
     from Inteliquent concerning certain information before they can
     determine the damages methodologies Plaintiffs’ experts will use to
     calculate the aggregated class wide damages for terminating
     access charges and other types of damages. Plaintiffs require,
     among other things, clarifying testimony from Inteliquent about
     what certain signaling codes in its CDRs mean, information about
     Average Length of Call (“ALOC”) information found within
     Inteliquent documents, information about the volume and
     percentages of TMUS direct long distance traffic Inteliquent carried
     at different points in time during its migration, and other information
     that may help Plaintiffs’ experts with their methodologies.
     Inteliquent is refusing to produce any witnesses on anything
     without being ordered to do so by the Special Master.

  3. Next, had TMUS not destroyed its CDRs, as explained in Plaintiffs’
     pending spoliation motion, Plaintiffs likely could have developed
     their damages methodologies with less burden and delay. If we
     had TMUS CDRs, Plaintiffs would not have had to engage in the
     type of piecemeal fact gathering they have been undertaking in
     search of substitute data sources to account for the calls not
     captured by Inteliquent’s CDRs due to the traffic TMUS handed off
     to other providers. Further to this point, Plaintiffs served
     Interrogatories on TMUS last fall asking it to identify its total call
     volumes and call volumes it handed off to intermediate providers
     other than Inteliquent to help fill this gap resulting from TMUS not
     preserving its CDRs. TMUS’s sworn interrogatory responses
     repeatedly asserted that TMUS does not have data that would
     enable it to determine that information. However, in the recent
     depositions of TMUS employees Sukhi Nehra and Satish Pachalla
     (Mr. Pachalla’s deposition was just last Friday, 3/1/24), both
     employees confirmed that certain documents in TMUS’s production
     could be used to estimate certain scopes of call volumes carried by
     other intermediate providers, and in particular the volume of
     domestic long distance calls TMUS handed off to all intermediate
     providers other than Inteliquent in 2016, rendering TMUS’s
     interrogatory responses inaccurate. Plaintiffs’ counsel, Ms. Hinger
     discussed this point specifically with TMUS counsel, Mr. Mervis in a
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     meet and confer on 3/3/24, asserting that TMUS’s inaccurate
     information in its interrogatory responses makes it impossible for
     Plaintiffs to establish a methodology for its aggregated class wide
     damages for loss of terminating access charges until the fact
     discovery concerning the call volumes carried by other intermediate
     providers is complete.

  4. Thus, the Inteliquent discovery and resolution of disputes, if any,
     over TMUS’s inaccurate interrogatory responses about call
     volumes are necessary predicates to Plaintiffs’ development of the
     very damages methodology TMUS’s preferred first motion seeks to
     compel Plaintiffs to provide without the benefit of the factual
     information they need to develop a methodology.

Finally, TMUS’s representations in the document it is sending to you
that it has “not been able to obtain discovery about the basis for
Plaintiffs’ damages claims” is not true. TMUS has deposed Plaintiffs’
30(b)(6) witnesses and employees at length about factual information
known to them about their damages, Plaintiffs have already amended
their initial disclosures to describe the damages sought, TMUS recently
served another set of interrogatories in response to which Plaintiffs will
be producing additional factual information, and Ms. Hinger told Mr.
Mervis in their 3/3/24 meet and confer that Plaintiffs would be producing
more factual evidence concerning damages associated with their
porting of numbers, which caused them to lose terminating access
charges. TMUS is also deposing a former CTC employee next week
who is expected to have additional information about CTC’s damages.
Therefore, TMUS has not been deprived of any discovery on damages,
what has not been disclosed is the firm and final methodology for
calculation of aggregated class wide terminating access charge
damages, which would be impossible for Plaintiffs to do now anyway
due to the predicate fact discovery concerning potential elements of the
methodology not yet being complete. Rather, as Plaintiffs’ list proposes,
TMUS’s motion should be considered in tandem with Plaintiffs’
spoliation motion because they go hand in hand.

Best Regards,
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Katie Gallagher
Katie Gallagher
She/Her
Of Counsel
Womble Bond Dickinson (US) LLP

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Signature for Gallagher, Katie




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                       Plaintiffs’ 3/4/24 Proposed Priority Listing of
                      Outstanding Motions to Complete Fact Discovery

Plaintiffs propose this Motion be resolved first with hearing on 3/8:
    1. Plaintiffs’ Motion to Compel Rule 30(b)(6) Deposition Testimony from Inteliquent, Inc.
                Pending Since: Jan. 31, 2024

Plaintiffs assert 2 and 3 should be considered together at same hearing as 4 and 5:
    2. TMUS’s Motion to Compel Rule 30(b)(6) Deposition Testimony from Plaintiff Craigville
        Telephone Co. d/b/a AdamsWells on Topic 7
            a. Pending Since: Feb. 2, 2024
    3. TMUS’s Motion for Additional Time to Depose Craigville
            a. Pending Since: Feb. 16, 2024

Plaintiffs assert 4 and 5 should be resolved together at same hearing as 2 and 3:
    4. Plaintiffs’ Motion to Compel Rule 30(b)(6) Deposition Testimony from TMUS
        (remaining Matter 64 – Authenticity and Admissibility of Documents Produced by
        Parties)
            a. Pending Since: Dec. 4, 2023 initial Hearing; Feb. 9, 2024 Hearing and Feb. 14 –
                Feb. 19 emails
    5. Plaintiffs’ Motion to Restore Rule 30(b)(6) Time and to Compel TMUS to Reproduce
        Prepared Rule 30(b)(6) Witnesses on Matters 12(a) and 41
            a. Briefing Will Close on Mar. 12, 2024

Plaintiffs assert 6 and 7 should be resolved together at the same hearing:
    6. TMUS’s Motion to Compel Deposition of CTC on Revised Topics 22-23
            a. Pending Since: Feb. 16, 2024
    7. TMUS’s Forthcoming Motion to Compel Responses to Interrogatories in Lieu of
        Deposition on Rule 23(a) Topics (Not Yet Briefed)

   8. Plaintiffs’ Forthcoming Motion to Compel Supplemental Responses to Second Set of
       Interrogatories regarding Call Volumes (Not Yet Briefed – Plaintiffs will initiate M&C
       this week)
   9. Plaintiffs’ Motion on Privilege Issues (Not yet briefed).
   10. TMUS’s Forthcoming Motion to Compel Further Amendments to Initial Disclosures (Not
       Yet Briefed)

Plaintiffs assert 11 and 12 should be considered together:
    11. TMUS’s Opposed Motion to Compel Rule 26(a)(1)(A)(III) Damages Information and
        Supplement
            a. Pending Since: Feb. 13, 2024
            b. TMUS submitted its “Supplemental Brief” on Jan. 10, 2024
            c. Plaintiffs submitted opposition to the Supplemental Brief on Feb. 13, 2024
    12. Plaintiffs’ Spoliation Sanctions Motion
            a. Plaintiffs submitted their Reply on Feb. 16, 2024
            b. TMUS submitted a Surreply on Feb. 29, 2024
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         c. Plaintiffs will submit Opp. to Surreply on Mar. 11, 2024
 13. Plaintiffs’ Motion to De-Designate Confidentiality of William Rowe Deposition
     Transcript
         a. Pending Since: Jan. 4, 2024
